    Case 1:21-cr-00453-JDB Document 71-3 Filed 10/05/22 Page 1 of 12




  Informal Grievance Form
  Response ID; 133383                                                        NOV 1 5 202]
  Submitted Date; 11/11/2021 02:03:37 PM (GMT-5)
  Completion Time; 14 min, 40 sec,

  Step 1: Informal Resolution (to be completed by Inmate)

• Inmate has five (5) days after triggering incident to submit request.
• The IGP coordinator will respond within seven (7) business days


 Inmate First Name:
 Sean

 Inmate Last Name;
 McHugh

 DC D C #
 378159

 Unit:
 C2B

 Date:
 11/11/21
 Select Department/Services Needed:

 Click the drop down menu to select;
 Staff Treatment

 Date of Incident;
 11/11/21

 Time of Incident;
 ll;00am

 Offender:


 Reason for Complaint;
           came into C2B and starded spraying recklessly because people were not
 wearing their mask. As I came out of the tv room she was spraying pepper spray on
 the top teir all over. Then i was told to lock down and so i was walking up the stairs as
 she was coming down spraying pepper sray at                  . I was hit for absolutely no
 reason. I was told again to lockdown and the pain and trouble breathing was getting
 worse as she had just sprayed the whole upper teir. This all started over someone not
 wearing their mask appearently. At this point at 11:15 11:30 approximately i asked
 for medical attention. Shortly after i attended      who was also hit by the spray.
 After      was put on a stretcher and walked to medical 1 locked down.                 is
 reckless and provoking she was instigating and escelating the situation that could
 have been handled in a calmer manner.

 Inmate Signature:
    Case 1:21-cr-00453-JDB Document 71-3 Filed 10/05/22 Page 2 of 12




  Informal Grievance Form
  Response ID: 133386
  Submitted Date: 11/11/2021 02:10:04 PM (GMT-5)
  Completion Time: 6 min. 21 sec,

  Step 1: Informal Resolution (to be completed by Inmate)

• Inmate has five (5) days after triggering incident to submit request.
• The IGP coordinator v^fill respond within seven (7) business days

  Inmate First Name:
  Sean

 Inmate Last Name:
 McHugh

 DC DC#
 378159

 Unit;
 C2B

• Date:
  11/11/21
  Select Department/Services Needed:

 Click the drop down menu to select:
 Health Care

 Date of Incident:
 11/11/21

 Time of Incident:
 11-lpm

 Offender:
             , Medical

 Reason for Complaint;
 I asked to see medical after being hit by pepper spray at 11 am i was hot seen by
 medical until 1 pm. Not only was the medical attention slow to start; But nothing was
 done. I asked to see a provider due to trouble breathing because of mold already they
 just took my temperature and vitals and sent me on my way. This faculty lacks in
 medical attention;

 Inmate Signature;
 Sean McHugh

 Date:
 11/11/21
 Case 1:21-cr-00453-JDB Document 71-3 Filed 10/05/22 Page 3 of 12




                D C D O C Inmate Informal Resolution Complaint Form
                             Tablet Submission Response

                          Grievance Leveli-Pofmal Grievance


Inmate Name;            000^378159             Unil;C2                 IGP #22111173-717
SEAN MCHUGH




DOC Response: U/23//2021

^^/hrs'U^              Semi /Ai a^SL^mlTQ^f^Z^ R^(U/siA/{!J^<^




Responder Name:                . Responder Signature                       Date:   {^^/4e>Jl/
Department;                 Manager; COVID-19     Manager Signature:

Inmate Grievance Coordinator Signature:                       Date:      /Pi   -/^
   Case 1:21-cr-00453-JDB Document 71-3 Filed 10/05/22 Page 4 of 12




                D C D O C Inmate Informal Resolution Complaint F o r m
                             Tablet Submission Response

                          Grievance Level; Formal Grievance


Inmate Name;            DCDC#378159             Unit; C2B                 IGP #22111173-681
SEAN MCHUGH         .




DOC Response: 11/23//2021



MOST" UJ£A^ A- Oap^&C (\T                 rrrvt-g   UtJlfi&S   HBD^CA\. k\}rHDe.{ZS& fHiS




Responder Name:                 Responder Signature:              1           Date: J i Z S ^ ^ I

Department: O f Ifcg^VI i (Si^-^Manager: COVID-19   Manager Signature:

Inmate Grievance Coordinator Signature:                           Date:          \{^30^
    Case 1:21-cr-00453-JDB Document 71-3 Filed 10/05/22 Page 5 of 12




 Informal Grievance Form
 Response ID: 135244
 Submitted Date: 11/17/2021 02:30:13 PM (GMT-5)
 Completion Time: 27 min, 18 sec.

  Step l i Informal Resolution (to be completed by Inmate)

• Inmate has five (5) days after triggering incident to submit request.
• The IGP coordinator will respond within seven (7) business days

 Inmate First Name:
 Sean                                                            .    ,

 Inmate Last Name:
 McHugh

 DC DC #
 378159

 Unit:
 C2B

 Date:
 11/17/21
 Select Department/Services Needed:

 Click the drop down menu to select:
 Discrimination

 Date of Incident:
 11/17/21

 Time of Incident:
 1:45

 Offender;


Reason for Complaint:
           started getting on us about masks. I put my mask on and complied. I asked
her if she was aware of IVIuriel Bowsers order going into effect on monday. She
replied that there was never a virus but if she has to wear a mask than we have to as
well. She started in on how i was priveledged saying she wishes i was in general
population so I could be taught a lesson. Saying i would be stabbed and beat. She also
said i was a leader of a racist group. She said she wishes she was leader of BLM so
that she could teach me a lesson. She called rae a racist bitch. Than she denied us a
whlteshirt and tried to lock down the whole pod because we were asking for a
whiteshirt. We asked winston ms peters and the other rec yard officer for a
whiteshlrt. She denied us a whiteshirt and punished us for being upset about her
treatment. She came into this zone to instigate hate. Calling me names and being
racist. She does not belong on this zone at all.
                    Case 1:21-cr-00453-JDB Document 71-3 Filed 10/05/22 Page 6 of 12



                                                                                                                                   PP 4030.1
                         DOC Staff: Print Name                                             Date                                Attachment C


                             DISTRICT OF COLUMBIA                                         TO B E C O M P L E T E D B Y IMMATE C R J E V A N C E
                             DEPARTMENT OF CORREj                                         COORDINATOR
    D    O   C               IISMATE info:                                                IGP NUMBER:
    or OannrKoirioNs         COMPLAINT FOR

     STEP 1: INFORMAL R E S O L U T I O N (To be completed by Inmate)
       • {fimate has five (5) days after triggering incident to submit request.
       • Place tbis form in the housing unit IGP box. The IGP coordinator will respond within seven (7) busmess days.

     INMATE NAME;                                        DCDC#:                           UNIT;                    DATE;

    S e a n m% H u g K                                                                    \o/\T/^{
    SELBCTDBPARTM'ENT/SERV/CES NEEDED:

      0 Facility Ttansfcr                                     o Property                                                   o Facilities
     o Fire Safety and Sanitation /Risk Management            o Sentence compulation, jail credit, over detention            Management
    . 0 Program and Activities                                o Finance
     o Personal Hygiene                                                                                                    o i[)iscrimin3tion
                                                              o Rules and Regulations                                      o Transportation
     o Case Management Services                               o StaffTreatmcnt                                             o Safety and
     o Health Care                                           > t ^ o o d Service                                             Sectirity
     o Communieatious(mail, visits, telephone, legal)        o Religious Services                                          0 Other
   DATE OF INCIDENT:                              . TtME OF INCIDENT:                             OFFENDER!

   REASON FOR CONfPLAINT:'TiX£jj^:wV




   INMATESIGNATURE;^^^ i f e ^ / w ^                                  DATE:     iO /       T / ^ A




  ***FOR»OC
             C O M P L E T I O N *** Provide response to the IGP Cooi-dinator no later tha»t
  DOC RESPONSE
                                                                                                              JD/P'f/O/T//
                                                         tali-V> a ^ r 6 v a < .




   PRINT RESPONDER NAME:                          __RESPONDER SIGNATURE:                                   DATE:
   DEPARTMENT;.                           . MANAGER NAME:                                 MANAGER SIGNATURE:                     Oc-f
   INMATE GRIEVANCE COORDINATOR SIGNATURE:
                                                                                                  - — » A ^ K :                    n-/-7^y

OrigiTOl-- IGP Coofdinator
        • Inmaie Response                                                                                                     Rwistid 3/2019
Copy 2 -• Inmulfi
   Case 1:21-cr-00453-JDB Document 71-3 Filed 10/05/22 Page 7 of 12




  Informal Grievance Form
  Response ID; 121865                                                            OCT 1 3 ZOZI
  Submitted Date: 10/12/2021 03:00:27 PM (GMT-4)
  Completion Time; 2 min, 49 sec,
                                                                           By.
  Step 1: Informal Resolution (to be completed by Inmate)

• Inmate has five (5) days after triggering incident to submit request,
• The IGP coordinator will respond within seven (7) business days

 Inmate First Name;
 Sean

 Inmate Last Name;
 McHugh

 DC DC#
 378159

 Unit;
 C2b

 Date:
 10/11/21
 Select Department/Services Needed:

 Click the drop down menu to select;
 StaffTreatmcnt

 Date of Incident;
 Every day

 Time of Incident:
 All day

 Offender;
 Dc doc

Reason for Complaint;
There is black mold in this facility, under the tiles on the floor, on the walls, in the
vents and other places causing breathing problems.

Inmate Signature;
Sean IMcHugh

Date:
10/11/21
   Case 1:21-cr-00453-JDB Document 71-3 Filed 10/05/22 Page 8 of 12



                                                                      20 OCTOBER 2021
                                                                      IGP # 22110142-719
 DOC Resident Interview Form
                                      Interview Details
 Name of
 Resident/No.      Sean McHugh/378159               Date: 10/19/2021       Time: «os4S
 Interviewer
 Name/title/sig                                    Interviewer Phone
                                  /                            Number: (202)790-6745
Reason for
Interview:        Responding to a complaint about personal exposures to mold contamination..




                             Questions for Interviewee



Question        Good morning Mr. McHugh, my name is                    and I am the
^1:            sanitarian. I would just like to ask you a few questions about your
               recent complaint, concerning mold. Do you have any additional
               comments or information that you would like to provide
               concerning your complaint dated 10/11/2021?



Answer:        "They knew that you were coming, cause                  the CO
               wiped down my cell with bleach. There is mold underneath the
               floor tiles and there is mold under the paint. The mold has been
               painted over"



Question       Are you comfortable and do have you had any symptoms, because
^2:                         of your potential exposures to mold?



Answer:      "Because of the mold I have breathing problems, I sneeze everyday
             and I have headaches."
      Case 1:21-cr-00453-JDB Document 71-3 Filed 10/05/22 Page 9 of 12




Question      Would moving to a different location help you and are you willing
#3:           to move t o a new location



.Answer:      "Yes, I am willing to move to a new location, perhaps the cell all
              the way on the end.



Question      Is there anything else that vou would like to share with me?
#4:


Answer: "No, not right now, thank you for coming by"




                                     Comments




There were no visible signs of mold contamination inside of IVIr, IVIcHugh's cell
(#30). A sample was taken underneath a floor tile. That sample did not contain
"Black M o l d " as reported. The black material is actually floor tile mastic.
Mold/mildew contamination was observed inside each of the four showers.
That mold/mildew contamination was abated on 20 October 2021.
   Case 1:21-cr-00453-JDB Document 71-3 Filed 10/05/22 Page 10 of 12



3 I Pa g e




Representative photograph of motd/mildew contamination prior to
abatement inside of shower
                             Case 1:21-cr-00453-JDB Document 71-3 Filed 10/05/22 Page 11 of 12                                                      PP 4030.1
                        DOC Staff: Print Name                            _SignName_                      Date                                   Attachment C

 T*r      *       TAT
                              DISTRICT OF        COLUMBIA                                                TO BE COMPLETED BY INMATE GRIEVANCE
                              DEPARTMENT OF CORRECTIONS                                                  COORDINATOR
                                                                                                         IGP NUMBER:
  D O C                       I N M A T E I N F O R M A L                   R E S O L U T I O N
 THE DEPARTMENT               C O M P L A I N T         F O R M                                          #
 OF QORREOTIONS


   S T E P 1: I N F O R M A L R E S O L U T I O N (To be completed by Inmate)
        •   Imnate has five (5) days after triggering incident to submit request.
        •  Place this form in the housing unit IGP box. The IGP coordinator will respond within seven (7) business days.

  INMATE         NAME:                                                  DCDC#:                           UNIT:                     DATE:



                                                                                                                                   \\
  S E L E C T D E P A R T M E N T / S E R : ^ C E S NEEDED:


    0 Facility Transfer                                                      0 Property                                                     o Facilities
    o Fire Safety and Sanitation /Rislc Management                           o Sentence computation, jail credit, over detention            .....^Management...
    o Program and Activities                                                 o Finance                                                    v.o.,„Diicnmiaa.tj,Qij„!i)'
    0 Personal Hygiene                                                      ^.0-«J.Hles."and'Reg.ulaj^ns                                    o Transportation
    0 Case Management Services                                                                                                              0 Safety and
    o Health Care                                                            o Food Service                                                      Security
    o Communications (mail, visits, telephone, legal),                       o Religious Services                                           o Other

  D A T E OF INCIDENT:          \\/0'5fL\                 TIIVIE OF INCIDENT:             '/'G'A'^ •"'^ >iO-VVl       OFFENDER:       I
  REASON FOR COMPLAINT:                               (. A l l I; \                                                              AS
  X . A M KJCl c w A U,Ci r . V> l u X X { \"TZ •RAi.cw I - S M ' I I e          S D i : S C \ SX A-\X. KU.       i

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                                                                   X-   y          AA'\  [Al AAZ                        A'Wt'j
                                                                            MM. "'^O fCiXLA-
  INMATE S I G N A T U R E : / ' /              , .           //                     DATE:
                              'U^AH        A M           '-'W                                     1!-

  *** F O R D O C C O M P L E T I O N             Provide response to the I G P Coordinator no later than.
  DOC RESPONSE:




   PRINT R E S P O N D E R NAME:                              RESPONDER SIGNATURE:                                         DATE:

  DEPARTMENT:                                   M A N A G E R NAME:                                       MANAGER SIGNATURE:
   I N M A T E G R I E V A N C E COORDINATOR S I G N A T U R E :                                                                 DATE:



Original - IGP Coordinator                                                                                                                     Revised 3/2019
Copy 1 - Inmate Response
Copy 2 - Inmate
                            Case 1:21-cr-00453-JDB Document 71-3 Filed 10/05/22 Page 12 of 12                                                     pp 4030.1
                             DOC Staff: PrintName:                            Signature:                          Date:^                       Attachment D

                               DISTRICT OF COLUMBIA                                                        TO BE COMPLETED BY INMATE GRIEVANCE
                               DEPARTMENT OF CORRECTIONS                                                   COORDINATOR
                                                                                                           IGP NUMBER:
   D O C                       I N M A T E     F O R M A L           G R I E V A N C E

  THE DEPARTMENT               F O R M                                                                     #
  OP CORRECTIONS

    S T E P 2: F O R M A L G R I E V A N C E (To be completed by Inmate)
              •   Inmate has five (5) days after receiving response to Informal Resolution to submit Formal Grievance form.
              •   Place this form in the housing unit IGP box. The IGP coordinator will respond within fifteen (15) business days.

    INMATE NAME:                ,                                   DCDC#:                                UNIT:                    DATE: ...

   SELECT DEPARTMENT/SERVICES:

     o Facility Transfer                                            o Property                                                       0 Facilities
     o Fire Safety and Sanitation /Risk Management                  o Sentence computation, jail credit, over detention                Management
     o Program and Activities                                       o Finance                                                        @ Discrimination
     o Personal Hygiene                                             o Rules and Regulations                                          0 Transportation
     o Case Management Services                                     ©' StaffTreatmcnt                                                o Safety and Security
     o Health Care                                                  o Food Service                                                   o Other
     o Communications (mail, visits, telephone,                     o Religious Services

    rOK INMATE: 1 las tins issue Ixvn rcsdKed? Y L S n o r N O Q ir no, cliccl< llie -NO" jiox .md place ihis li)mi in HK- IIOIKIM!. unil I( ;i>
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          F O R D O C C O M P L E T I O N *** Pro^de reponse to the IGP Coordinator no later than


   D O C RESPONSE:




   PRINT RESPONDER NAIVIE:                                          RESPONDER SIGNATURE:                                             DATE:
   DEPARTMENT:                            MANAGER NAME:                                        MANAGER SIGNATURE:
  INMATE GRIEVANCE COORDESfATOR SIGNATURE:                                                                            DATE:



Original - IGP Coordinator
Copy 1 - Inniate Response
Copy 2 - Inmate                                                                                                                                       12/2019
